                 Case 2:18-cv-00565-RSL Document 86 Filed 09/22/20 Page 1 of 3




 1

 2

 3

 4                                 UNITED STATES DISTRICT COURT
 5                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 6
            DONNA REED, individually and on                   No. 2:18-cv-00565-RSL
 7          behalf of all others similarly situated,
 8
                                    Plaintiff,                STIPULATION AND ORDER
 9          v.
10          SCIENTIFIC GAMES CORP., a Nevada
            corporation,
11
                                    Defendant.
12

13

14

15                                      I. STIPULATED MOTION
16          The Parties have agreed to a stipulated briefing schedule on Defendant’s Motion to
17 Compel Arbitration or Transfer Venue, Dkt. 82 (the “Motion”), such that Plaintiff’s deadline to

18 respond to the Motion shall be October 12, 2020, Defendant’s deadline to reply shall be October

19 30, 2020, and the noting date shall be October 30, 2020.

20          Consequently, pursuant to Local Civil Rule 7(d)(1) and 10(g), the Parties respectfully
21 request that this Court enter the attached [Proposed] Order extending the time for Plaintiff to

22 respond and Defendant to reply to Monday, October 12, 2020, and Friday, October 30, 2020,

23 respectively to allow the parties additional time to address the issues presented in Defendant’s

24 motion.

25

26

                                                                    T OUSLEY B RAIN S TEPHENS PLLC
     STIPULATION AND ORDER                                              1700 Seventh Avenue, Suite 2200
     Case No. 18-cv-00565-RSL-1                                          Seattle, Washington 98101-4416
                                                                     Tel: 206.682.5600 • Fax: 206.682.2992
             Case 2:18-cv-00565-RSL Document 86 Filed 09/22/20 Page 2 of 3




 1         DATED this 21st day of September, 2020.
 2

 3                                              Respectfully Submitted,

 4                                              By: /s/ Todd Logan
                                                EDELSON PC
 5                                              Todd Logan (admitted pro hac vice)
                                                tlogan@edelson.com
 6                                              123 Townsend Street, Ste. 100
 7                                              San Francisco, California 94107
                                                Tel: 415.638.9660
 8                                              Fax: 415.373.9435

 9                                              By: /s/ Cecily C. Shiel
                                                TOUSLEY BRAIN STEPHENS PLLC
10                                              Cecily C. Shiel, WSBA #50061
                                                1700 Seventh Avenue, Suite 2200
11                                              Seattle, Washington 98101
12                                              Tel: 206.682.5600
                                                Fax: 206.682.2992
13                                              cshiel@tousley.com

14
                                                Attorneys for Plaintiff and the Proposed Class
15

16                                              By: /s/ Nicola C. Menaldo
                                                Kathleen M. O’Sullivan, WSBA # 27850
17                                              Nicola C. Menaldo, WSBA # 44459
18                                              David T. Martin, WSBA # 50160
                                                PERKINS COIE LLP
19                                              1201 Third Avenue, Suite 4900
                                                Seattle, WA 98101-3099
20                                              Telephone: 206.359.8000
                                                Facsimile: 206.359.9000
21                                              Email: KOSullivan@perkinscoie.com
22                                              Email: NMenaldo@perkinscoie.com
                                                Email: DMartin@perkinscoie.com
23                                              Attorneys for Defendant Scientific Games Corp.

24

25

26

                                                              T OUSLEY B RAIN S TEPHENS PLLC
     STIPULATION AND ORDER                                        1700 Seventh Avenue, Suite 2200
     Case No. 18-cv-00565-RSL-2                                    Seattle, Washington 98101-4416
                                                               Tel: 206.682.5600 • Fax: 206.682.2992
              Case 2:18-cv-00565-RSL Document 86 Filed 09/22/20 Page 3 of 3




 1                                             II. ORDER
 2          The deadline for Plaintiff to respond to Defendant’s Motion to Compel Arbitration or
 3 Transfer Venue, Dkt. 82, is extended to October 12, 2020, and the deadline for Defendant to file

 4 its reply is extended to October 30, 2020. The Clerk of Court is directed to renote the motion for

 5 October 30, 2020.

 6

 7          IT IS SO ORDERED.
 8

 9          Dated this 22nd day of September, 2020.

10

11                                               Robert S. Lasnik
                                                 United States District Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                                   T OUSLEY B RAIN S TEPHENS PLLC
     STIPULATION AND ORDER                                             1700 Seventh Avenue, Suite 2200
     Case No. 18-cv-00565-RSL-3                                         Seattle, Washington 98101-4416
                                                                    Tel: 206.682.5600 • Fax: 206.682.2992
